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                           UNITED STATES DISTRICT COURT
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                        NORTHERN DISTRICT OF CALIFORNIA
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     ANTI POLICE-TERROR PROJECT,              )   Case No. 3:20-cv-03866-JCS
19
     COMMUNITY READY CORPS, AKIL              )
20   RILEY, IAN McDONNELL, NICO NADA,         )
     AZIZE NGO, and JENNIFER LI, on behalf    )   DECLARATION OF LIAM CAIN ISO
                                                                           IN
21   of themselves and similarly situated     )   TEMPORARY  RESTRAINING ORDER
                                                  SUPPORT OF MEMORANDUM OF
     individuals,                             )   POINTS AND AUTHORITIES IN
22
                                              )   SUPPORT OF PLAINTIFFS'
23               Plaintiffs,                  )   APPLICATION FOR A TEMPORARY
      vs.                                     )   RESTRAINING ORDER AND/OR ORDER
24                                            )
     CITY OF OAKLAND, OPD Police Chief            TO SHOW CAUSE AND FOR
                                              )   PRELIMINARY INJUNCTION
25   SUSAN E. MANHEIMER, OPD Sergeant         )
     PATRICK GONZALES, OPD Officer            )
26
                                              )
27   CASEY FOUGHT,                            )
                                              )
28               Defendants.
                                              )



     APTP v. City of Oakland, No. 3:20-cv-03866-JCS
     Declaration of Liam Cain - 1
              Case 3:20-cv-03866-JCS Document 19 Filed 06/17/20 Page 2 of 4




 1   I, Liam Cain, hereby declare:
 2      1. The facts stated herein are of my own personal knowledge and if called and sworn as a
 3   witness, I could and would competently testify thereof.
 4      2. I am an Oakland resident.
 5      3. I am a trained wildland firefighter.
 6
        4. I participated in the protests against police brutality starting the weekend of Friday, May
 7
     29, 2020, as a concerned citizen.
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        5. At the protest on May 29, in addition to witnessing multiple incidents of police
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     deploying tear gas on the crowd, I witnessed police fire projectile weapons at peaceful
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     protestors.
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        6. That night I picked up some of those projectile weapons off the ground after they were
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     shot at protestors.
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        7. Directly below are true and correct photos I took of those projectile weapons, including a
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     rubber bullet and two sponge grenades.
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     APTP v. City of Oakland, No. 3:20-cv-03866-JCS
     Declaration of Liam Cain - 2
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     APTP v. City of Oakland, No. 3:20-cv-03866-JCS
     Declaration of Liam Cain - 3
              Case 3:20-cv-03866-JCS Document 19 Filed 06/17/20 Page 4 of 4




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16      8.

17   and faces.

18
19   I declare under penalty of perjury that the foregoing is true and correct. Executed on June 17,

20   2020, at Oakland, California.
21
22                                             Signed: _Liam Cain*__________________
                                                           Liam Cain
23
24
     * I, Andrew Chan Kim, am the ECF user whose identification and password are being used to
25
     file the foregoing documents. Pursuant to Civil Local Rule 5.1(i), I hereby attest that
26
     concurrence in the filing of these documents has been obtained from each of its Signatories.
27
28



     APTP v. City of Oakland, No. 3:20-cv-03866-JCS
     Declaration of Liam Cain - 4
